Case 1:15-cv-00078-GJQ ECF No. 82 filed 09/19/16 PageID.1204 Page 1 of 13




                         UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION



     __________________________________

     JULIE PEFFER and JESSE PEFFER,

                Plaintiffs,

         v.                                          File No. 1:15-CV-78

     MIKE STEPHENS, NATHAN EDWARDS,
     and JASON COON,

               Defendants.
     __________________________________/



          Hearing re:     Plaintiffs' Motion for Protective Order


     Before

                      THE HONORABLE ELLEN S. CARMODY
                       United States Magistrate Judge
                              October 5, 2015




     Digital audio recording transcribed by:

     Kevin W. Gaugier, CSR-3065
     U.S. District Court Reporter
Case 1:15-cv-00078-GJQ ECF No. 82 filed 09/19/16 PageID.1205 Page 2 of 13   2




                                  APPEARANCES



     J. NICHOLAS BOSTIC                        LISA J. VOGLER
     909 N. Washington Ave.                    57 N. Michigan Ave.
     Lansing, MI 48906                         Beulah, MI 49617
     Attorney for Plaintiffs                   Attorney for Defendant
                                               Nathan Edwards



     SANDRA J. DENSHAM                         MARK E. DONNELLY
     333 Bridge St., NW                        Assistant Attorney General
     Suite 530                                 P.O. Box 30736
     Grand Rapids, MI 49501                    Lansing, MI 48909
     Attorney for Defendant                    Attorney for Defendant
     Jason Coon                                Mike Stephens
 Case 1:15-cv-00078-GJQ ECF No. 82 filed 09/19/16 PageID.1206 Page 3 of 13   3




 1                                                   Grand Rapids, Michigan

 2                                                   October 5, 2015

 3                                                   11:14 a.m.

 4                                 -     -     -

 5

 6                           P R O C E E D I N G S

 7

 8               THE CLERK:     The Court calls case 1:15-CV-78, Peffer

 9    v. Stephens, et al.
10               THE COURT:     Good morning.      Would counsel please put

11    your appearances on the record?

12               MR. BOSTIC:     Good morning, Your Honor.       Nick Bostic

13    on behalf of the plaintiffs.

14               THE COURT:     Good morning.

15               MS. VOGLER:     Lisa Vogler on behalf of Nathan

16    Edwards.

17               THE COURT:     Good morning.

18               MS. VOGLER:     Good morning.

19               MS. DENSHAM:     Good morning.     Sandra Densham on

20    behalf of Defendant Coon.

21               THE COURT:     Okay.   Good morning.

22               MR. DONNELLY:     Good morning, Your Honor.       Mark

23    Donnelly on behalf of Defendant Stephens.

24               THE COURT:     Okay.   Good morning to you.

25               I have read the motion for a protective order in
 Case 1:15-cv-00078-GJQ ECF No. 82 filed 09/19/16 PageID.1207 Page 4 of 13   4




 1    this matter.    There's been also expedited consideration

 2    requested, and that is docket 29.        That's plaintiffs' motion.

 3               I've read Defendant Edwards' response to the

 4    motion.   That's the only response that I saw.         I also read the

 5    complaint in this matter and the Joint Status Report to try to

 6    get a little bit of a feel for what the background facts are

 7    here, and Mr. Bostic, I admit to some bemusement about why I'm

 8    here.   I don't know exactly what you're asking for, to tell

 9    you the truth.
10               MR. BOSTIC:     The timing of the deposition is the

11    problem at this point.      It was initially set for October 2.

12    Mr. Froehlich had a conflict, so she agreed to set it for

13    October 9.    This would be the deposition of plaintiffs by

14    Defendant Edwards.

15               THE COURT:     Okay.   And this case was filed early

16    this year.    What is your discovery deadline?

17               MS. VOGLER:     December 18th, Your Honor.

18               MR. BOSTIC:     After I did the motion for protective

19    order -- well, in the midst of the e-mail discussions which I

20    attached to the motion, I had asked for Ms. Vogler to

21    reconsider setting the depositions for my clients until after

22    we get either the property returned from 2012 or we have

23    copies of everything that are on it.         The problem is the

24    police in 2012 seized a lot of records that had to do with --

25    well, the records in the computers actually contained a lot of
 Case 1:15-cv-00078-GJQ ECF No. 82 filed 09/19/16 PageID.1208 Page 5 of 13   5




 1    their communications with their attorneys.          These are all

 2    state proceedings and they're now closed.          But the property

 3    was seized in connection with those state proceedings.

 4               THE COURT:     Okay.

 5               MR. BOSTIC:     And the clients have been without that

 6    information for three years now.        So the depositions, I was a

 7    little concerned about the airfare because, I put that in the

 8    motion, the difference between buying a ticket 30 days out

 9    versus within 30 days is -- it depends, but it can be
10    significant.    But that's really not the problem.         My concern

11    is that they try to depose my clients on a 2012 incident where

12    they've had nothing to review.

13               THE COURT:     Well, let me ask you this, Mr. Bostic,

14    and this question occurred to me when I read your papers.              I

15    did perceive that part of your problem with this was these

16    documents, but I read the complaint and I guess I don't really

17    understand how relevant -- I don't know what the documents

18    are.   I am loath to get involved in ordering state police to

19    turn over documents when that's not part of this case.

20               And part of my reaction, to be candid with you, was

21    that's defendants' tough luck, then, if your clients can't

22    respond to some of the questions because they don't remember

23    what's in the documents.      It would seem to me it would be in

24    defendants' interest to make sure that you were able to get

25    them well-prepared.     But, you know, maybe that's not true from
 Case 1:15-cv-00078-GJQ ECF No. 82 filed 09/19/16 PageID.1209 Page 6 of 13     6




 1    their point of view.

 2               MR. BOSTIC:     Well, if they were -- they've lived out

 3    of state the entire time, so Julie Peffer lives in Florida.

 4    So if my clients were local, I would never have brought this.

 5    But my concern is they're going to pay for airfare and come up

 6    here for depositions that are going to be fruitless.            Now,

 7    granted --

 8               THE COURT:     Well, I can solve that problem.         If the

 9    documents or copies of the documents are not returned to them
10    in sufficient time prior to the deposition, I'm not going to

11    have them come up here and be deposed again.          Any follow-up

12    deposition that defendants might claim they need because they

13    were not properly prepared can be taken where they are.

14               MR. BOSTIC:     Okay.   Well, then, let me give you an

15    update as part of it.

16               THE COURT:     Okay.

17               MR. BOSTIC:     On September 24th I sent plaintiffs'

18    document production requests to Defendant Edwards.           On

19    September 30th, 2015, she responded.         But the problem is the

20    copies of the seized records -- well, let me back up.             What

21    she sent me was police reports.

22               THE COURT:     Right.

23               MR. BOSTIC:     I already had those from the criminal

24    proceeding.    I had the basics, anyway.       Now, in her response,

25    the discovery response, she indicated that she sent a disk
 Case 1:15-cv-00078-GJQ ECF No. 82 filed 09/19/16 PageID.1210 Page 7 of 13    7




 1    with photos.    I opened up that disk and it contains four sets

 2    of the state police computer system where they keep track of

 3    property.    There weren't any photographs.        I don't -- maybe

 4    I'm missing a disk somewhere, but I don't have the photographs

 5    that she says were disclosed.

 6                But then in the individual answers to the document

 7    production requests, most of them she's stating an objection

 8    where she's saying Defendant Edwards doesn't have these.               They

 9    are in possession of the Traverse Narcotics Team/Michigan
10    State Police and we can't produce them.         We're not going to

11    produce them.    You know who has them.       And that is not how

12    Rule 34 works.

13                Now, I'm not asking you to rule on Rule 34 or the

14    deficiencies in her response because I haven't done the

15    request for concurrence and filed the motion.          But my point is

16    here we are on Monday the 5th.        They want to depose my clients

17    Friday the 9th.     In the interim I got this discovery response

18    that says, Well, we can't do that because the records are over

19    there.

20                THE COURT:    Right.

21                MR. BOSTIC:    Now, that's not getting me anywhere.

22    So I understand, and, you know, I was loath to bring this

23    motion, Your Honor.      This is the first -- I think the first

24    discovery motion, maybe, that I've brought in eight years in

25    federal practice.
 Case 1:15-cv-00078-GJQ ECF No. 82 filed 09/19/16 PageID.1211 Page 8 of 13   8




 1               THE COURT:     I don't recall having -- curling my lip

 2    at you prior to this.

 3               MR. BOSTIC:     Right, and I don't do this.       But the --

 4               THE COURT:     Let me ask you this.      What I'm --

 5    another thing I'm a little bit concerned about here, it's easy

 6    enough to fix this 30-day issue, okay.

 7               MR. BOSTIC:     Right.

 8               THE COURT:     It's easy enough for me to put the onus

 9    on the defendants to be collegial and get you copies of the
10    documents unless they want to risk going and taking the

11    depositions again wherever they are, okay?          But in terms of

12    this document production, you know, I was -- it's been a while

13    since I've been in practice, but it was always just completely

14    typical for the first discovery out of the box to be the

15    plaintiffs' depositions, and I --

16               MR. BOSTIC:     Right.

17               THE COURT:     I find -- I always found that

18    appropriate whether I was defending the case or bringing the

19    case.   So I'm not going to -- what I'm telling you is I'm not

20    going to muck up their desire to take the depositions based on

21    a motion that I don't even have before me.          But what I'm going

22    to do is this, and I'm going to ask you to prepare a proposed

23    stipulated order.

24               I'm going to give your clients 30 days from today

25    and that the deposition shall not take place any -- not later
 Case 1:15-cv-00078-GJQ ECF No. 82 filed 09/19/16 PageID.1212 Page 9 of 13   9




 1    than 30 days from today.      It's my experience as a traveler, I

 2    don't have any particular judicial smarts about this, but as a

 3    traveler it is my experience that your best chance of getting

 4    a good ticket is if you make your reservations at least 30

 5    days before.

 6               I'm going to leave you to try to work out the

 7    document issue.     If the defendants are not happy with the

 8    product, if that doesn't get worked out and they're not happy

 9    with the deposition that they're able to take, any request for
10    a further deposition will be wherever your clients are.

11               Yes, Mr. Donnelly?

12               MR. DONNELLY:     Can I ask a question, Your Honor?

13               THE COURT:     Yes.

14               MR. DONNELLY:     I may have misheard you.       Are the

15    deps to take place after 30 days or within 30 days because --

16               THE COURT:     After 30 days.

17               MR. DONNELLY:     Okay.

18               THE COURT:     You can set a date and try to work

19    together as I would expect you would to get a date that's

20    mutually convenient for everyone.        But I'm going to give them

21    30 days from today, and I'm going to ask you to remain here

22    until you have a date, but I'm going to give them 30 days to

23    get their airline tickets.

24               All right.     And I have not given you any chance to

25    speak at all, Ms. Densham.       Is there anything you'd like to
 Case 1:15-cv-00078-GJQ ECF No. 82 filed 09/19/16 PageID.1213 Page 10 of 13 10



 1    say?

 2                MS. VOGLER:    Ms. Vogler.

 3                THE COURT:    Oh, Ms. Vogler, I'm sorry.

 4                MS. VOGLER:    Yes, a couple of things I'd like to

 5    mention.

 6                First and foremost, I know that you said you

 7    reviewed my response.      You also saw my Exhibit A, which is a

 8    letter from Mr. Bostic to the head of the TNT team clearly

 9    indicating that my client, Nathan Edwards, who is no longer on
10    the TNT team has no access, possession or control.

11                THE COURT:    That's okay because he's going to have

12    to bring a motion.     I'm not deciding that issue today.         It's

13    not in front of me.

14                MS. VOGLER:    Okay.   I wanted that to be clear

15    that --

16                THE COURT:    I did understand that from your

17    response.

18                MS. VOGLER:    Very good.    I had no reason to believe

19    when I served the request for deposition that at least Mr.

20    Peffer was not in the state.       The complaint alleges that he is

21    a Michigan resident, so I had every reason to believe that he

22    was local and here and available.

23                And I did give them 22 days' notice on my second

24    notice of taking deposition.       They still had 22 days before

25    the date.    And before filing this motion, even before the
 Case 1:15-cv-00078-GJQ ECF No. 82 filed 09/19/16 PageID.1214 Page 11 of 13 11



 1    hearing today, Mr. Bostic never proposed another date.            He

 2    never contacted me by e-mail or telephone to propose another

 3    date.   Had he done so, we wouldn't be standing here right now.

 4                THE COURT:    Well, he's going to have to today, okay?

 5                MS. VOGLER:    Very good.    Very good.

 6                THE COURT:    And I'm relying on the fact that I have

 7    not had a ton of this type of motion from Mr. Bostic in terms

 8    of keeping my patience levels down because me scheduling

 9    plaintiffs' and defendants' depositions is not a good use of
10    my time.

11                MS. VOGLER:    I couldn't agree more.

12                THE COURT:    All right.    So you are blameless in this

13    matter, I'm giving Mr. Bostic a pass, and I'm sorry that I

14    misidentified you.

15                MS. VOGLER:    That's all right.

16                THE COURT:    Ms. Densham, is there anything you'd

17    like to say?

18                MS. DENSHAM:    No, Your Honor, thank you.

19                THE COURT:    All right.    Mr. Donnelly?

20                MR. DONNELLY:    No, Your Honor.

21                THE COURT:    All right.    Mr. Bostic, would you get

22    that -- first decide on a date among yourselves and get that

23    proposed -- can you get that proposed order circulated,

24    starting to be circulated by the end of tomorrow?

25                MR. BOSTIC:    Yes.
 Case 1:15-cv-00078-GJQ ECF No. 82 filed 09/19/16 PageID.1215 Page 12 of 13 12



 1                THE COURT:    Okay.    All right.   And at any rate, so

 2    I'm going to make sure you don't leave here until you have a

 3    date, not --

 4                MS. VOGLER:    Until we have an agreement?

 5                THE COURT:    You have at least 30 days before the

 6    depositions take place.      Okay.

 7                MS. VOGLER:    I understand.     And in the event -- I

 8    would hope that all counsel would be in agreement to extend

 9    the discovery deadline in the event that there -- since the
10    depositions are being taken later in the discovery period than

11    I otherwise would have chosen to be.

12                THE COURT:    I'm not making that decision today

13    either, okay?

14                MS. VOGLER:    Very good.    Thank you.

15                THE COURT:    I only decide the things that I have

16    read about, thought about.

17                MS. VOGLER:    Okay.

18                THE COURT:    Not based on your creative whims.

19                MS. VOGLER:    Okay.

20                THE COURT:    All right.    Good day to all of you.

21                MS. VOGLER:    Thanks.

22                THE COURT:    And please let us know when you have a

23    date and we'll then look for the proposed stipulated order.

24    All right.

25                MR. BOSTIC:    Thank you, Your Honor.
 Case 1:15-cv-00078-GJQ ECF No. 82 filed 09/19/16 PageID.1216 Page 13 of 13 13



 1                  (Proceedings concluded at 11:27 a.m.)

 2

 3                                 *     *     *

 4

 5                          CERTIFICATE OF REPORTER

 6

 7                I, Kevin W. Gaugier, Official Court Reporter for the

 8    United States District Court for the Western District of

 9    Michigan, appointed pursuant to the provisions of Title 28,
10    United States Code, Section 753, do hereby certify that the

11    foregoing is a true and correct transcript of the proceedings

12    had in the within-entitled and numbered cause on the date

13    hereinbefore set forth.

14                I do further certify that the foregoing transcript

15    was prepared by me.

16

17

18

19    /s/   Kevin W. Gaugier

20    Kevin W. Gaugier, CSR-3065
      U.S. District Court Reporter
21    110 Michigan N.W.
      622 Federal Building
22    Grand Rapids, MI 49503

23

24

25
